
Opinion
Per Curiam :
Appellant has filed a timely pro se appeal. Under Douglas v. California, 372 U.S. 353 (1963), and Commonwealth v. Sliva, 415 Pa. 537, 204 A. 2d 455 (1964), an indigent is entitled to the assistance of counsel on appeal. We are unable to determine whether appellant is still indigent (he was represented by court-appointed counsel at trial) or whether his pro se appeal represents an intelligent and knowing waiver of the assistance of appellate counsel.
*757The record is remanded to the court below with instructions to determine whether appellant remains indigent or has waived the assistance of appellate counsel. If the court below finds that appellant is indigent and has not waived his right to counsel, it shall appoint appellate counsel. If the court finds that appellant is not indigent or has waived assistance of counsel on appeal, it shall then permit appellant to prosecute his pro se appeal.
